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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:19-CR-00072-NONE-SKO
12                                Plaintiff,
                                                        STIPULATION REGARDING EXCLUDABLE
13                          v.                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                        FINDINGS AND ORDER
14   OSCAR RENE MARROT GARCIA,
                                                        DATE: May 15, 2020
15                               Defendant.             TIME: 8:30 a.m.
                                                        COURT: Hon. Dale A. Drozd
16

17          This case is set for a change of plea on May 15, 2020. On April 17, 2020, this Court issued
18 General Order 617, which suspends all jury trials in the Eastern District of California scheduled to

19 commence before June 15, 2020, and allows district judges to continue all criminal matters to a date

20 after June 1. This and previous General Orders were entered to address public health concerns related to
21 COVID-19.

22          Although the General Orders address the district-wide health concern, the Supreme Court has
23 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

24 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

25 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

26 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at
27 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

28 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

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 1 or in writing”).

 2          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 3 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 4 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 5 the ends of justice served by taking such action outweigh the best interest of the public and the

 6 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

 7 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

 8 ends of justice served by the granting of such continuance outweigh the best interests of the public and

 9 the defendant in a speedy trial.” Id.
10          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

11 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

12 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

13 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

14 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

15 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

16 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

17 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

18 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

19          In light of the societal context created by the foregoing, this Court should consider the following

20 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
21 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

22 for the change of plea. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial

23 continuance must be “specifically limited in time”).

24                                                 STIPULATION

25          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

26 through defendant’s counsel of record, hereby stipulate as follows:
27
            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1          1.     By previous order, this matter was set for a change of plea on May 15, 2020.

 2          2.     By this stipulation, defendant now moves to continue the change of plea until June 12,

 3 2020, and to exclude time between May 15, 2020, and June 12, 2020, under Local Code T4.

 4          3.     The parties agree and stipulate, and request that the Court find the following:

 5                 a)      Counsel for defendant desires additional time to confer with his client and

 6          conduct further investigation.

 7                 b)      Counsel for defendant believes that failure to grant the above-requested

 8          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 9          into account the exercise of due diligence.

10                 c)      The government does not object to the continuance.

11                 d)      In addition to the public health concerns cited by General Order 617, and

12          presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in

13          this case because the defendant does not consent to proceed using videoconferencing or

14          telephone conferencing pursuant to General Order 614.

15                 e)      Based on the above-stated findings, the ends of justice served by continuing the

16          case as requested outweigh the interest of the public and the defendant in a trial within the

17          original date prescribed by the Speedy Trial Act.

18                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

19          et seq., within which trial must commence, the time period of May 15, 2020 to June 12, 2020,

20          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) (Local Code T4)

21          because it results from a continuance granted by the Court at defendant’s request on the basis of

22          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

23          of the public and the defendant in a speedy trial.

24          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

25 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

26 must commence.
27 ////

28 ////

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 1        IT IS SO STIPULATED.

 2

 3
     Dated: April 28, 2020                          MCGREGOR W. SCOTT
 4                                                  United States Attorney
 5
                                                    /s/ KAREN A. ESCOBAR
 6                                                  KAREN A. ESCOBAR
                                                    Assistant United States Attorney
 7

 8
     Dated: April 28, 2020                          /s/ KEVIN P. ROONEY
 9                                                  KEVIN P. ROONEY
10                                                  Counsel for Defendant
                                                    OSCAR RENE MARROT
11                                                  GARCIA

12

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14

15                                     FINDINGS AND ORDER

16 IT IS SO ORDERED.

17     Dated:    April 29, 2020
18                                            UNITED STATES DISTRICT JUDGE

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